                      Case 1:08-cr-00124-AWI Document 466 Filed 04/28/15 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                       Eastern District
                                                     __________ Districtofof
                                                                          California
                                                                             __________

                    United States of America
                               v.                                          )
                   ABEL REMIGIO-ONOFRE                                     )
                                                                           )    Case No: 1:08-cr-00124-008
                                                                           )    USM No:
Date of Original Judgment:                            05/03/2010           )
Date of Previous Amended Judgment:                    03/19/2015           )    David M. Porter, FD
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                           38568$177286& F 
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
,7,625'(5(' that the motion is:
           u DENIED. u      ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment DVUHIOHFWHGLQ
WKHODVWMXGJPHQWLVVXHG of   151                     months LVUHGXFHGWR 121 months                          .
                                              &RPSOHWH3DUWV,DQG,,RI3DJHZKHQPRWLRQLVJUDQWHG 

                   Defendant's sentence to run CONCURRENT to the sentence being
                   served in case 1:08-cr-00071. Defendant to receive credit
                   for the time he has served in federal custody on this case,
                   using 3/7/2008 to calculate the time.




Except as otherwise provided, all provisions of the judgment dated                          05/11/2010              shall remain in effect.
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Order Date:                  04/28/2015                                                         /s/ ANTHONY W. ISHII
                                                                                                         -XGJH¶VVLJQDWXUH


Effective Date:              11/01/2015                                        Senior United States District Judge Anthony W. Ishii
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